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FII.EO B`z' __% D.C.
IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 hug 19 m 6; 50
WESTERN DIVISION

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CURLEE WEBB' w arm malpst

Plaintiff,
VS. NO. 02-2795-Ma

CORPORATE SECURITY, E'I‘ AL. ,

Defendants.

 

ORDER AMENDING SCHEDULE

 

Pursuant to the July 29, 2005, request by defendants Tommy
and Judy Young to reset the trial in this matterl, the court held
a telephone conference on August 5, 2005. Participating on
behalf of the plaintiff Was William Ryan. Participating on
behalf of the defendants were Phillip Kerby, Tommy Young, and
Judy Young. For good cause shown, the motion Was granted and the
court amends the Schedule as follows:
1. The deadline for filing potentially dispositive motions
is August lS, 2005.

2. The parties Will submit a joint proposed pretrial order
by 5:00 p.m. on October 28, 2005.

3. A pretrial conference will be held on Friday, November

4, 2005, at 9:00 a.m.

 

lA letter dated Jul},r 29, 2005, from Mr. and Mrs. Young to the court is construed
by the court as a motion to continue the trial date.

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4. The jury trial is reset to Monday, November 14, 2005,
at 9:30 a.m., and is expected to take 4 days.
The oral request of pro se defendants Tommy and Judy Young
for appointed counsel is denied.
Absent good cause, the amended schedule set by this order
will not be modified or extended.

So ORDERED this /Z/L°day of August, 2005.

WMM

SAMUEL H. MAYS, JR.
UNITED STATES DISTR.T_CT JUDGE

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 151 in
case 2:02-CV-02795 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Tommy R. Young
1792 SWynford Lane
Collierville, TN 38017

.1 udy Young
1792 SWynford Lane
Collierville, TN 38017

Corporate Security
53 84 Poplar Ave.
1\/lemphis7 TN 38119

Robert F. Uhlmann

COCHRAN UHLMANN ABNEY DUCK & WRIGHT
150 Court Avenue

2nd Fl.

1\/lemphis7 TN 38103

William B. Ryan

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/lemphis7 TN 3 8104

Donald A. Donati

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/lemphis7 TN 3 8104

.1 ohn Ford Canale

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/lemphis7 TN 3 8104

Stuart B. Breakstone
BREAKSTONE & ASSOCIATES
200 .1 efferson Ave.

Ste. #725

1\/lemphis7 TN 38103

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Honorable Samuel Mays
US DISTRICT COURT

